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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                      Government,               §
                                                §
VS.                                             §   CRIMINAL NO. H-05-337
                                                §
ANGELA ARMSTRONG, et al.,                       §
                                                §
                      Defendants.               §

                     ORDER ON MOTION FOR CONTINUANCE

       Defendant Debbie Ramcharan has moved to continue the trial setting from April 30,

2007. The codefendant, Angela Armstrong, is in agreement. The government is opposed.

       Ramcharan asserts two grounds for continuance. The first is that her counsel has an

oral argument on the day trial is scheduled to begin. The second is that the government

recently produced additional documents, requiring some additional time to prepare.

       The combination of the two problems leads this court to conclude that a brief

continuance is appropriate. The court finds that the additional time is in the interest of justice

and outweighs the interest of the defendants and the public in a shorter time to resolution.

The pretrial conference will remain in place for April 27, 2007 to ensure that no discovery

or other issues are present. A final pretrial conference is set for May 18, 2007, at 8:45 a.m.,

and jury selection and trial are set for May 21, 2007, at 9:00 a.m.

               SIGNED on April 13, 2007, at Houston, Texas.

                                          ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
